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                                APPEAL TRANSMITTAL SHEET (non-death penalty)
 Transmittal to 4CCA of notice of          District:                                      District Case No.:
 appeal filed: 03/03/23
                                            Eastern District of VA                         3:23cv1-MHL
 ✔ First NOA in Case
 ___                                       Division:                                      4CCA No(s). for any prior NOA:
 ___ Subsequent NOA-same party             Richmond
 ___ Subsequent NOA-new party              Caption:                                       4CCA Case Manager:
 ___ Subsequent NOA-cross appeal
                                           Fitzgerald et al v. Siegel
 ___ Paper ROA      ___ Paper Supp.
  Vols: _______________________
 Other: _______________________
 Exceptional Circumstances: ___ Bail ___ Interlocutory ___ Recalcitrant Witness               ___ Other __________________________
 Confinement-Criminal Case:                Fee Status:
 ___ Death row-use DP Transmittal           ✔ No fee required (USA appeal)
                                           ___                                       ___ Appeal fees paid in full     ___ Fee not paid
 ___ Recalcitrant witness
                                           Criminal Cases:
 ___ In custody
                                           ___ District court granted & did not revoke CJA status (continues on appeal)
 ___ On bond
 ___ On probation                          ___ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
 Defendant Address-Criminal Case:          ___ District court never granted CJA status (must pay fee or apply to 4CCA)
                                           Civil, Habeas & 2255 Cases:
                                           ___ Court granted & did not revoke IFP status (continues on appeal)
                                           ___ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)
                                           ___ Court never granted IFP status (must pay fee or apply to 4CCA)
 District Judge:                           PLRA Cases:

 M. Hannah Lauck                           ___ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
                                           ___ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)
 Court Reporter (list all):
                                           Sealed Status (check all that apply):
                                           ____
                                            ✔ Portions of record under seal
                                           ____ Entire record under seal
                                           ____ Party names under seal
                                           ____ Docket under seal
 Coordinator: Laura Griffin
 Record Status for Pro Se Appeals (check any applicable):               Record Status for Counseled Appeals (check any applicable):
 ___ Assembled electronic record available upon request                 ✔ Assembled electronic record available upon request
                                                                        ___
 ___ Additional sealed record available upon request                    ___ Additional sealed record available upon request
 ___ Paper record or supplement available upon request                  ___ Paper record or supplement available upon request
 ___ No in-court hearings held                                          ___ No in-court hearings held
 ___ In-court hearings held – all transcript on file                    ___ In-court hearings held – all transcript on file
 ___ In-court hearings held – all transcript not on file                ___ In-court hearings held – all transcript not on file
 ___ Other:                                                             ___ Other:



              /s/ S. Mejia
Deputy Clerk: ______________________ Phone:___________________
                                           804-916-2220                                   03/03/23
                                                                                     Date:_________________

10/2022
